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     Contrada, Inc., a Colorado corporation; 333 Trust; and Marilena P. Marzano, a / k /a Elena Marzano, Marilena Piras, and Elena Piras; Petitioners  v.  Thomas Wengh. Respondent No. 23SC904Supreme Court of Colorado, En bancJuly 22, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 21CA1286
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    